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                           Exhibit F to Declaration
                           of Jean-Claude Mazzola
 Akshay Koul                                                                5/27/2022
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   1                      UNITED STATES DISTRICT COURT
   2                      SOUTHERN DISTRICT OF FLORIDA
   3

   4    JIANGMEN BENLIDA PRINTED
   5    CIRCUIT CO., LTD.,
   6                 Plaintiffs,                 CASE NO.: 21-60125-CIV-
   7           vs.                               SCOLA/SNOW
   8    CIRCUITRONIX, LLC,
   9                 Defendant.
  10    ____________________________/
  11                        VIDEOTAPED DEPOSITION OF
  12                                  AKSHAY KOUL
  13    DATE:               Friday, May 27, 2022
  14    TIME:               8:35 p.m. HKT / 8:35 a.m. EDT
  15    LOCATION:           Remote Proceeding
  16                        Hong Kong, China
  17    REPORTED BY:        Hope Hecker, Notary Public
  18    JOB NO.:            117077
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   1    BY
             MR. MAZZOLA:
   2           Q     You said that Rajesh is your brother-in-law,
   3    right?
   4           A     That's right.
   5           Q     Okay.     And when I understand brother-in-law,
   6    you know, in American English, brother-in-law is, to
   7    me, would be my wife's brother.                You understand that
   8    to be the case?
   9           A     I do understand that is your case, but that
  10    is what we call in India.
  11           Q     Okay.     So in India, your cousin's brother --
  12           A     My cousin's husband is called brother-in-
  13    law.
  14           Q     Okay.     So Rajesh is your cousin's husband?
  15           A     That's right.
  16           Q     Is your wife related to Rajesh or Rishi?
  17           A     No.    I mean, through me, that's it.
  18           Q     Through you?        Okay.    Your wife is related to
  19    them through you, but there's no blood relationship,
  20    then, right?       Just a marital relationship?
  21           A     No.
  22           Q     Okay.     So if Rajesh is your brother-in-law,
  23    what is Rishi to you?          Is he your brother-in-law, too?
  24           A     No.
  25           Q     Why not?      Because your cousin is not married


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   1    to Rishi?
   2           A     That's right.
   3           Q     How long have you known Rajesh Kukreja?
   4           A     Since, I guess, 1995.
   5           Q     When they got married, right?
   6           A     That's right.
   7           Q     So Rajesh got you a job with Circuitronix;
   8    is that correct?
   9           A     He did not get me the job.             He, sort of, he
  10    was the one who introduced me.             And then I went
  11    through interview stages and everything and then
  12    that's how I got -- I got the job.
  13           Q     Why did you leave Tata Group?
  14           A     For better opportunity.
  15           Q     Maybe?
  16           A     I said, for better opportunity.
  17                        MR. COLE:      It looks like J. C. is
  18    frozen on my screen.
  19                        THE WITNESS:       I could not hear anything
  20    from you.
  21                        THE REPORTER:        Yeah, mine too.
  22                        MR. KELLY:       I think J. C. lost his
  23    connection.       Just hang on one sec.          Yeah, maybe
  24    J. C.'s computer was freezing.             We're fixing it now.
  25    Oh, yeah.      J. C.'s Internet just cut out and he's, you


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   1    know, we're fixing it now.            Sorry about this,
   2    everybody.
   3                        MR. MAZZOLA:       Can you hear me?
   4                        MR. KELLY:       Yup.      We can hear you.
   5                        MR. MAZZOLA:       I beg your pardon,
   6    Akshay.     Actually, I was blaming your computer.                 I
   7    think it was mine.         Sorry about that.         What kind of
   8    computers has he got over there?                Gosh.
   9    BY
             MR. MAZZOLA:
  10           Q     I think the last question I was asking about
  11    may have been why you left Tata and I asked you if you
  12    got fired from Tata.
  13           A     That's not right.         I left for a better
  14    opportunity.
  15           Q     So your wife is -- your cousin is married to
  16    Rajesh Kukreja?        Okay.
  17                        MR. COLE:      Objection to form.
  18    BY
             MR. MAZZOLA:
  19           Q     That's not correct?          Is your cousin married
  20    to Rajesh Kukreja?
  21           A     That's correct.         My cousin is married to Mr.
  22    Rajesh Kukreja.
  23           Q     What kind of business is Rajesh Kukreja in?
  24           A     He's not in businesses.
  25           Q     He's not in business.             Does he work with


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   1    CTX?
   2           A     No.
   3           Q     He doesn't work?
   4           A     He does not work with CTX.
   5           Q     He's not in the business, CTX.              And then my
   6    question is, what kind of business is he in?
   7           A     He's a pilot.
   8           Q     Like, airplane pilot?
   9           A     That's right.
  10           Q     What is your role at -- well, let me ask you
  11    this next question.         You work at CTX Hong Kong; is
  12    that correct?
  13           A     That is correct.
  14           Q     And your role at CTX Hong Kong is what?
  15           A     General manager.
  16           Q     And is the general manager the highest
  17    position at CTX Hong Kong?
  18           A     Yes.
  19           Q     Who is your boss?
  20           A     I report to Mrs. Promila Kukreja and Mr.
  21    Rishi Kukreja.
  22           Q     Do you send e-mails to Promila?
  23           A     Sorry, what's that?
  24           Q     You send e-mails to Promila?
  25           A     Do I send e-mails?          Sorry?


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   1    warehouse locally, right -- the CTX warehouse?
   2           A     That's right.
   3           Q     Who is the third party warehouse provider
   4    that you work with?
   5           A     It's called N-A-F.
   6           Q     Ooh, how do you spell that?
   7           A     N-A-F.
   8           Q     Oh, N-A-F.       And they're a warehouse
   9    operator?
  10           A     Yes.
  11           Q     How long have you guys worked with NAF?
  12           A     If I had to take a guess, around two to
  13    three years.
  14           Q     Who was your third party warehouse company
  15    prior to that?
  16           A     DHL.
  17           Q     DHL?     They operate warehouses?
  18           A     Yes.
  19           Q     Why did you guys leave DHL?
  20           A     I mean, there might be pricing.              I mean,
  21    it's the management decision.             I do not have 100
  22    percent visibility of it, but I for sure know where
  23    the cost gets better and that's what we choose.
  24           Q     It was a cost decision, or you think?
  25           A     I'm sorry?


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   1           Q     It was a cost decision, you think?
   2           A     That's what I think.
   3           Q     I'm not trying to jam you up over here.                  Who
   4    would have made that decision?             Would that have been
   5    made by Rishi?
   6           A     Operations team?         That's Rishi.
   7           Q     Rishi, right?
   8           A     Yes.
   9           Q     Correct?
  10           A     Mrs. Kukreja or Rishi, I mean, either of
  11    them.
  12           Q     Do you guys -- like, who arranges -- who
  13    arranges if the product is sitting in NAF warehouse,
  14    right?     Say, for example, it's in the NAF warehouse --
  15           A     Sorry, you're breaking up.             I cannot hear
  16    you.    I'm so sorry.
  17           Q     Yeah.     I'm trying to understand, like, so I
  18    understand the warehouse operation, but does the
  19    warehouse operation --
  20           A     I'm sorry.       I cannot hear you properly.
  21           Q     Okay.     Can you hear me now?          Am I speaking
  22    too loudly?
  23                        MR. COLE:      There's a problem with
  24    connection.
  25                        MR. MAZZOLA:       Can you hear me,


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   1    because I do not know what you're referring to on the
   2    sheet.      I mean --
   3           Q      Okay.    We'll put a sheet up in front of you.
   4    Well, let me ask you this question then.                 How is it
   5    determined -- oh, we have it up there.                Is it up
   6    there?      Make it the spreadsheet that's up here.                Okay.
   7    Do you see this?        This was previously marked as
   8    Exhibit --
   9                        MR. COLE:      5?
  10                        MR. KELLY:       5.   Yeah.     This is Benlida.
  11                        (Exhibit 5 was previously marked for
  12                        identification.)
  13                        THE WITNESS:        But this is not a
  14    shipment file or this is --
  15                        MR. MAZZOLA:        No, I know.      I'm just
  16    trying to show you what I was talking about.                   Do you
  17    see, in Column A?
  18                        THE WITNESS:        Okay.
  19                        MR. MAZZOLA:        It says US?
  20                        THE WITNESS:        Mm-hmm.
  21                        MR. MAZZOLA:        Then there's invoice
  22    numbers and part numbers, et cetera, et cetera.
  23    Right?      And you've never seen this, Akshay?              You may
  24    have.      And then if you scroll down to where it
  25    switches to Hong Kong and now it switches to the


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  1    Column A, it says HK, and then there's invoice
  2    numbers.
  3                        THE WITNESS:       Okay.
  4    BY
            MR. MAZZOLA:
  5           Q      One thing you'll see is there's an HK
  6    designation.       We're looking at line 356.
  7           A      Mm-hmm.
  8           Q      Do you know what that designation means?
  9           A      That must belong to Circuitronix Hong Kong.
 10           Q      Okay.    So the business belongs to
 11    Circuitronix Hong Kong.           Is that fair to say?
 12           A      That's right.
 13           Q      The sale was generated by Circuitronix Hong
 14    Kong, right?
 15           A      The P.O. was generated from Circuitronix
 16    Hong Kong and the -- yeah -- the sales come to
 17    Circuitronix, Hong Kong.
 18           Q      Okay.    Then go back up.         So these ones,
 19    because they don't say HK on it, what we know is that
 20    the bill was generated and the sale was generated by
 21    US, right?
 22           A      By Circuitronix US.
 23           Q      Okay.    How do you guys decide if it's going
 24    to be a US sale versus a Hong Kong sale?
 25           A      Customers who are for US are meant for


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  1    Circuitronix US and Europe, as well as Asia Pacific
  2    customers, belong to Circuitronix Hong Kong.
  3           Q      Oh.   So the region for Circuitronix Hong
  4    Kong is Europe, right?
  5           A      No.   Asia Pacific is where --
  6           Q      What's that?
  7           A      Asia Pacific is the --
  8                        MR. COLE:      Asia Pacific.
  9           Q      Oh, Asia Pacific is Hong Kong.             Okay.
 10           A      Europe, as well as Asia Pacific.
 11           Q      Europe and Asia Pacific.           Okay.    So if I see
 12    an invoice but what we see is we see Benlida bills and
 13    I can look on it and it says HK on it, then we know
 14    that the purchase was for the Asia Pacific -- Europe
 15    and Asia Pacific.
 16           A      For our customers, based on these regions.
 17           Q      Okay.    And then for -- all right -- okay.
 18    So when you're -- how do you decide then if a delivery
 19    is supposed to go to DHL or NAF?               Is it based upon,
 20    what?
 21           A      Oh, I'm sorry.       I'm confused.        Can you
 22    please repeat your question?             Because we do not do
 23    business with DHL anymore.
 24           Q      Okay.    When you used to do business with DHL
 25    -- I'm going to try to do it in order now -- was there


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  1    any division of where deliveries would be made based
  2    upon whether it was Hong Kong or US?                Do you
  3    understand the question?
  4           A      It was -- I do -- I do understand your
  5    question now.        As I mentioned earlier as well, I
  6    think, it is based upon the urgency.                If the parts
  7    were needed to be shipped very quickly, then we would
  8    get to Circuitronix Hong Kong based upon --
  9           Q      Did it have anything to do with where the
 10    business was generated, US versus Hong Kong?
 11           A      No.    I think Benlida delivers Circuitronix
 12    Hong Kong or Circuitronix US cargoes NAF till now.
 13           Q      Okay.    And they would have to DHL as well?
 14           A      I'm sure.      Yeah.
 15           Q      So irrespective of whether it was a Hong
 16    Kong or a US bill -- US purchase order?
 17           A      Yes.    I think they specified that in their
 18    packing list as well.
 19           Q      What do they specify in their packing list?
 20           A      Circuitronix, the parts which are meant for
 21    Circuitronix Hong Kong and parts which are meant for
 22    Circuitronix US.
 23           Q      Okay.    So parts which are meant for
 24    Circuitronix Hong Kong could still go to DHL or NAF;
 25    is that correct?


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  1           A      That is correct.
  2           Q      And the only time it deviates is when
  3    there's a question of urgency and then it goes to your
  4    warehouse, CTX's warehouse?
  5           A      That's right.
  6           Q      And I don't know if I asked this question.
  7    You're talking about the DHL when you used to work
  8    with DHL, their DHL would log the receipt of the
  9    delivery, correct?
 10           A      Uh-huh.
 11           Q      And then they would send you an e-mail
 12    saying we received it; is that correct?
 13           A      I would have to -- I mean, I can say that,
 14    yes, that's the procedure.            But if you are asking for
 15    a confirmation, then I have to go back and check.
 16           Q      No.   Just what your recollection is, that's
 17    all.
 18           A      That is what was being done?
 19           Q      What kind of involvement -- who is in charge
 20    of the Shenzhen operation?            Is that you, too?
 21           A      That's correct.
 22           Q      And there's warehouse and logistics in
 23    Shenzhen, you said, right?
 24           A      That's right.
 25           Q      Would Benlida cargoes ever get delivered --


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  1    Benlida's product -- ever get delivered to Shenzhen
  2    warehouse?
  3           A      Yes.
  4           Q      And under what circumstances would it be
  5    delivered to Shenzhen warehouse?
  6           A      So Shenzhen -- Circuitronix Shenzhen caters
  7    to all the customers which we have within China and
  8    Benlida delivers the cargoes to us under the name of
  9    Circuitronix Shenzhen.
 10           Q      Under the name of Circuitronix Shenzhen?
 11           A      I mean, that's -- that's company name.
 12    Yeah.      So we raise the P.O. from Circuitronix Shenzhen
 13    and then they deliver it to similar to what they do
 14    for Circuitronix US and for Circuitronix Hong Kong.
 15           Q      If the P.O. is raised -- let's go back to
 16    that spreadsheet.         Did we have P.O.'s in there?             I
 17    think we did, right?          Pull up a list with P.O.'s on
 18    it.    Can we pull that spreadsheet up again?                All
 19    right.      This is Exhibit 5.        What is this over here?
 20    Exhibit 5?      Okay.     The same one we had up before.
 21                  If the sale is originated in if -- scroll --
 22    if the sale is originated in -- well, I guess what I
 23    heard from you was for manufactured goods that are
 24    going all over China, right, they go directly to the
 25    Shenzhen warehouse; is that correct, Akshay?


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  1           A      That's right.
  2           Q      And -- and, you know, you do that, as I
  3    understand, because you don't want to deal with
  4    importing and exporting in and out of Hong Kong,
  5    right?
  6           A      I do not know that detail.
  7           Q      But if it's an intra-China delivery, it goes
  8    from Benlida to Shenzhen warehouse, right?
  9           A      Mm-hmm.     To us.
 10           Q      What's that?
 11           A      To us, to Circuitronix Shenzhen.              Yes.
 12           Q      It goes to Shenzhen.          So is there any way by
 13    looking at these invoice numbers, like these HK
 14    invoices, would there ever be an instance where
 15    business was generated out of the HK, Hong Kong, and
 16    it would be for intra-China and it would go to
 17    Shenzhen warehouse?
 18           A      I don't think so.
 19           Q      Okay.    So I guess what you're saying is that
 20    all of Benlida's business was for export from China?
 21                        MR. COLE:      Objection to form.
 22    BY
            MR. MAZZOLA:
 23           Q      Do you know?
 24           A      Could you please repeat your question once
 25    again?


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  1           Q      Well, could I have an invoice number --
  2    could I have business generated by Hong Kong office
  3    that is for intra-China?
  4           A      I do not -- I do not remember that.               But I
  5    know that if it has to be for China, I'm sure I would
  6    not see HK out there.          This has to be an RMB to RMB
  7    transaction.
  8           Q      What was that?       That's RMB to RMB
  9    transaction.       Okay.     So my question is, were there
 10    ever instances where your branch, Hong Kong, would
 11    generate a sale that was intra-China?
 12           A      I do not know that, sir.
 13           Q      So you only did export out of China?
 14           A      Out of China, or?
 15           Q      Out of -- Yeah.        Well, yeah, out of China.
 16    Yeah.
 17           A      Okay.    I do not know if -- how could I
 18    answer this?       But I can tell you that, if we need
 19    parts which are for our customers in China, we would
 20    raise an RMB P.O. to Benlida and they will ship the
 21    parts to Circuitronix Shenzhen.                And if we need any
 22    parts which are required for the US or Hong Kong, we
 23    will raise the P.O. accordingly and the parts will be
 24    accordingly to us in Hong Kong.
 25                        MR. MAZZOLA:       Can we take one break?


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  1    I'm squirming here.          It'll be real fast.         We can just
  2    mute you.
  3                        MR. COLE:      Sure.
  4                        MR. MAZZOLA:       Sorry, guys.       I don't
  5    know if anyone else is squirming.               I'm a lot older
  6    than all you guys.         What happened?        What happened?
  7                        MR. KELLY:       Oh, I had to un-share the
  8    screen.
  9                        MR. COLE:      Yeah, let's just take quick
 10    two to three minutes.
 11                        THE WITNESS:       May I also take a break?
 12    Okay.
 13                        MR. COLE:      Yeah, go ahead.        Yeah.     Of
 14    course.
 15                        THE WITNESS:       Thank you.
 16                        (Off the record.)
 17                        (On the record.)
 18    BY
            MR. MAZZOLA:
 19           Q      If a purchase order was -- I guess what I'm
 20    trying to understand is, I know you have a warehouse
 21    in Hong Kong and that's where the main warehouse
 22    operations are.        But I was not aware of a warehouse in
 23    Shenzhen.      So I'm trying to understand when or if or
 24    what circumstances it would be that Benlida's
 25    manufactured product would be going to the Shenzhen


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  1    warehouse.      Can you tell me when or what circumstances
  2    it would happen?
  3           A      If it's an RMB P.O. for our customers which
  4    is based out of China, we -- we get the parts in our
  5    Shenzhen warehouse.          Anything that belongs to anywhere
  6    out of China comes to --
  7           Q      Okay.    So if it's an RMB P.O., then it would
  8    be intra-China.        It doesn't leave PRC, right?             So it
  9    goes from Benlida, Jiangmen to Shenzhen warehouse and
 10    then from the Shenzhen to wherever, you know?
 11           A      To our customers.
 12           Q      Yeah.    Tienzhen [ph] or wherever it goes.
 13    Wherever the factories are.            Okay -- okay.        Now, I
 14    understand.
 15           A      Okay -- to our customers.
 16           Q      In terms of sales region, right?              The Hong
 17    Kong office, CTX, right?           Your sales region is all of
 18    Asia Pacific; is that correct?
 19           A      Are you talking about my area?
 20           Q      Well, yeah.      So if I look at a P.O. that's
 21    from Hong Kong office, can I assume that that P.O. is
 22    for an Asia Pacific customer?
 23           A      And Europe as well.
 24           Q      And Europe as well.         Okay.     So when I look
 25    at P.O.s and invoices related to Benlida, and it's


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  1    generated out of HK office, it's Asia Pacific and
  2    Europe?
  3           A      If it is generated from Circuitronix Hong
  4    Kong company, it is meant for our customers which are
  5    based out of Asia Pacific and Europe.
  6           Q      What does Asia Pacific include?             Does it
  7    include China?
  8           A      No.   For China, I specifically told you that
  9    we have RMB P.O.s.
 10           Q      So China is not included in Asia Pacific?
 11           A      In this case, yes.
 12           Q      In this case?       In this case, because why?
 13    Because it's a US P.O., right?              It's a dollar P.O., US
 14    dollar P.O.?
 15                        MR. COLE:      Objection to form.
 16           A      Could you please repeat your question once
 17    again?     I -- I got confused with your question.
 18           Q      Well, your sales territory out of CTX, Hong
 19    Kong, is Asia Pacific and Europe, right?
 20           A      Mm-hmm.     That's right.
 21           Q      And does that, irrespective of anything,
 22    does it include China?
 23           A      For -- specifically, for China, we have RMB
 24    P.O.s specifically for China.
 25           Q      Okay.    So but could you generate a sale


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  1    from, say, SuperTech, a purchase from SuperTech -- let
  2    me give you an example.           For delivery to a factory in,
  3    I don't know, Hebei Province, it's all intra-China,
  4    would that sale and purchase be generated through Hong
  5    Kong office or Shenzhen office?
  6           A      I actually do not understand your question.
  7           Q      Did Benlida do any business with the Hong
  8    Kong office for sale of product that was going to be
  9    used intra-China?
 10           A      I cannot remember that.           But I think for
 11    China specifically, we do RMB transactions and RMB
 12    P.O.s.
 13                        MR. MAZZOLA:       Okay.     Pull that
 14    spreadsheet down.         Do we have a list of P.O.s?            We're
 15    going to pull up another one, Akshay.                I'm so sorry to
 16    do this.      We call them discovery depositions for a
 17    reason, because the lawyers are trying to discover
 18    stuff.     And you know a lot more about this than I do,
 19    so.    Just something that has P.O. numbers on it.
 20                        MR. KELLY:       This is Exhibit 23.
 21                        MR. MAZZOLA:       Okay.     Maybe this helps?
 22                        (Exhibit 23 was previously marked for
 23                        identification.)
 24    BY
             MR. MAZZOLA:
 25           Q      We're looking at purchase order numbers.                 Do


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  1    you see these over here?           Are those purchase order
  2    numbers?      Yeah, they are.        Is there anything about a
  3    purchase order number that would tell us whether
  4    the -- well, I guess that would be, yeah, whether the
  5    customer was in China or not?             That would help us.          Do
  6    you see these purchase orders in Column B?
  7           A      I do see.      Okay.
  8                        MR. MAZZOLA:       Make it bigger for him
  9    because he's tired.          We're making it bigger because I
 10    think you're tired.
 11                        THE WITNESS:       Thank you -- thank you.
 12                        MR. MAZZOLA:       So scroll down.         Like,
 13    just stop right there.           So you can make it big.           Oh,
 14    you can't make any bigger.            You can't get rid of that
 15    stuff.     Push it out.       You can't do that.         Oh.
 16                        MR. KELLY:       I can zoom in.
 17                        MR. MAZZOLA:       No, get rid of all that.
 18    You can't get rid of all this, right?                No, make it
 19    smaller so we can see more at one time.
 20                        MR. KELLY:       It's because 5 floats.
 21                        MR. MAZZOLA:       Oh.
 22                        MR. KELLY:       So that's why.
 23                        MR. MAZZOLA:       Okay.     So stop right
 24    there.
 25    //


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  1    BY
            MR. MAZZOLA:
  2           Q      See that?      So the X 57, that tells you the
  3    customer, right?
  4           A      That's -- yeah.        That would be the customer
  5    code.
  6           Q      Do you know where that customer is located?
  7           A      I cannot.      There are so many customers, I
  8    cannot tell you.        It's impossible for me to tell you.
  9           Q      So there's no way, in looking at a purchase
 10    order, to know if the customer is going to be located
 11    in China?
 12           A      I think for Shenzhen P.O.s, we have SZ
 13    written on the P.O.s, or something like that.                   That's
 14    the differentiation between -- or these are, I think
 15    you're pulling up from 2016.             I do not know if these
 16    P.O.s I mean, I don't -- if you can show us my P.O.,
 17    then maybe it helps.          But these are just numbers --
 18           Q      Hong Kong P.O.s.        Yeah, these are Hong Kong
 19    P.O.s.
 20           A      Okay.    So then, if it says Hong Kong P.O.s,
 21    it's for Circuitronix Hong Kong.
 22           Q      Okay.    But the P.O. doesn't say that.              You
 23    see those are the P.O. numbers.                Oh, you're saying if
 24    we actually pull up the actual P.O. itself, the paper?
 25           A      Yeah.    If that's what you want to know --


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  1    even I would like to see that P.O. so that I know that
  2    it is for Circuitronix Hong Kong.
  3           Q      Yeah.    Let's pull up one for you, Akshay.                I
  4    know you know this is not your day to day.                  I know.
  5                        MR. MAZZOLA:       Just any P.O.        That guy's
  6    falling asleep.
  7                        MR. KELLY:       I know.
  8                        MR. MAZZOLA:       Sorry, Akshay.        Anything
  9    that says P.O., anything.            There's a P.O.       Sorry about
 10    that, Akshay.       I can't scroll down.
 11                        MR. KELLY:       This is Exhibit 12.
 12                        (Exhibit 12 was previously marked for
 13                        identification.)
 14    BY
            MR. MAZZOLA:
 15           Q      So this is what your P.O.s were looking
 16    like, this is back in 2014, so it's a while ago.                    But
 17    there's a P.O. -- where's the P.O. number?                  Okay.     Is
 18    there anything -- I'm trying to understand if there's
 19    anything in the P.O. number that tells you if it's for
 20    a Chinese PRC customer?           You got a factory on it.
 21           A      So firstly, what I would like to say is that
 22    this is 2014 -- June 2014.            I did not even join the
 23    company at that point at time.              That's number one.
 24    And number two, on the left hand side, the P.O. is
 25    generated from Circuitronix Hong Kong.                It is meant


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  1    for Circuitronix Hong Kong.
  2           Q      Okay.    So if it's generated -- if the P.O.
  3    is generated from Circuitronix Hong Kong, are you
  4    telling me that then the product that's being
  5    purchased is never going to go to the Shenzhen
  6    warehouse?      Is that what you're telling me?
  7           A      I don't know.       Historically, I mean, I can
  8    say yes.      I mean it should not go.
  9           Q      Okay.
 10           A      But it's -- it's way beyond my knowledge and
 11    I was not even part of the company at that point, so I
 12    cannot comment on this particular P.O. that you are
 13    asking.
 14           Q      Okay.    All right.      Go back to the other one
 15    with more P.O.s from 2016.            And now Akshay, I'm just
 16    going to ask you about the P.O.s to help us sort of
 17    understand how they're to be read or interpreted.                     Do
 18    you see this P.O. over here?             Hold on one second.
 19    Hold on.
 20           Q      So these are the P.O.s, Akshay.             We've been
 21    trying to divine how it is, how to interpret a P.O.
 22    and if there's any way that there's anything on the
 23    P.O. that indicates anything.             So if we look at line
 24    11, you see that?         It says BLD, so that's a Benlida
 25    P.O.


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  1           A      Mm-hmm.
  2           Q      Then there's X19 and that's your factory
  3    code.      Not your factory, your customer code, right?
  4           A      Yes -- yes.
  5           Q      So that customer could be -- it could be
  6    whoever your customer is, Audi Motor Company, you
  7    know, Panasonic, anyone like that?               But we don't know
  8    that yet.      And then there's a "G".           What's the G mean?
  9           A      I do not know that.
 10           Q      You see up above, there's one in red and it
 11    may be in red for all sorts of reasons.                 What does TIN
 12    mean, T-I-N?
 13           A      I'm assuming it's emergent [ph] here.
 14           Q      What's emergent in?
 15           A      It's a -- finish [ph].
 16           Q      Okay.    All right.      Scroll down.       Is there
 17    anything else?        And then the other one would be the
 18    number in the middle.          What does that tell you?            Does
 19    it tell you anything?          And look at line 14.
 20           A      It's the sequence number of the P.O., I
 21    guess.
 22           Q      That's all it is?        Okay.     But then if you
 23    look at line 16, it's a little bit different.                   It's
 24    got a VA, an EU, an A, a 138, and they're all issued
 25    the same day, same month.


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  1           A      There might be some logic behind it, which
  2    definitely I cannot tell you.             But somebody who knows
  3    might be able to answer.
  4           Q      What is the -- what is the process of
  5    creating a P.O.?        And I want to talk -- we're going to
  6    talk over the time you've been with Circuitronix.                     So
  7    when you started with Circuitronix as -- 14, what was
  8    the process for creating a P.O. at that time?
  9           A      I never got involved in creation of the
 10    deal.      It's -- team who creates P.O.s.
 11           Q      Who creates P.O.s?
 12           A      Inside sales team.
 13           Q      And you're not an inside sales team?
 14           A      No.
 15           Q      I thought you were a sales manager.
 16           A      There's a difference between outside sales
 17    and inside sales.
 18           Q      Okay.    That's a good one to know.            What's
 19    the difference between outside sales and inside sales?
 20           A      We get business, outside sales, and inside
 21    Sales is the one who processes it.
 22           Q      Okay.    So, for example, if you were selling
 23    PCB to Tata Motors, for example.
 24           A      Mm-hmm.
 25           Q      You would meet with the people at Tata


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  1    Motors.     You know, you would do the salesman type of
  2    stuff, you know, whatever.            Play golf, have dinner,
  3    all of that stuff.         Close the deal, right?
  4           A      Yeah.    I mean, meet with them, do
  5    presentations --
  6           Q      Yeah.    Make the deal?
  7           A      Yeah.
  8           Q      And then you'd bring it back to the inside
  9    sales team and you'd work with the engineers.                   You'd
 10    work with everyone to make sure that you're getting
 11    the right product for Tata Motors.               And it's the
 12    inside sales team that generates the P.O.; is that
 13    correct?
 14           A      That is correct.
 15           Q      Who is the boss of the inside sales teams in
 16    Hong Kong?
 17           A      We don't have inside sales in Hong Kong.
 18           Q      You don't have inside sales in Hong Kong?
 19           A      No.
 20           Q      Have you ever had inside sales in Hong Kong?
 21           A      Not that I remember.
 22           Q      So when you generate a sale, is Tata Motors
 23    in Asia Pacific?        That's not Asia Pacific, right?
 24           A      We don't do business with them so I don't
 25    know if it's --


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  1           Q      Oh, you don't know?         Okay.     So when a sale
  2    is generated then by the Hong Kong office, who
  3    prepares the purchase order?
  4           A      Inside sales team.         For example, I might get
  5    orders or outside salespeople get the orders.                   Or we
  6    have a team which we -- we, like, we merge with
  7    interaction with the customer and then we get the
  8    orders from the customer.            And then, based upon the
  9    customer's location, those P.O.s are released
 10    accordingly, whether it's Circuitronix Hong Kong or
 11    it's Circuitronix US, or.
 12           Q      So the Circuitronix Hong Kong P.O.s. --
 13           A      Mm-hmm.
 14           Q      Oh, let me ask you this question.              So you
 15    could do a sale that gets a P.O. released out of
 16    Circuitronix US, right?
 17           A      Who, me?
 18           Q      Yeah.
 19           A      I could not understand your question.
 20    Sorry.     Please, could you repeat that?
 21           Q      Well, it sounds to me like there's a
 22    determination as to where the customer is located.
 23    General Motors, for example, right?
 24           A      Uh-huh.
 25           Q      I don't know if you do business with them,


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  1    but General Motors has facilities in North America,
  2    Europe, Asia Pacific.          So if it's an Asia Pacific
  3    facility that the PCB is going to, then it gets an H,
  4    Hong Kong, purchase order, right?
  5           A      Circuitronix, Hong Kong.           Yes.
  6           Q      But if it's going to a North American
  7    facility, then it gets a US purchase order, right?
  8           A      Circuitronix, US.        Yes.
  9           Q      And so my question is, it's not an important
 10    question, so I'm going to skip it.               But if there's no
 11    inside salespeople in Hong Kong, who generates the --
 12    where are they located, the people that generate the
 13    Hong Kong purchase orders?
 14           A      Inside sales team in India.
 15           Q      In India?      And what is the process for the
 16    inside sales team in India to generate the P.O.?
 17           A      I do not know the generation process of P.O.
 18    generation.
 19           Q      But they have to enter a purchase order
 20    date, right?       You know that much?
 21           A      Of course.
 22           Q      And then, of course, a description of the
 23    product is entered as well, right?
 24           A      Like as the P.O. is received, I'm sure, like
 25    as the P.O. is received from the customer, same -- the


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  1    same details are being sent to factories, respective
  2    factories.      I mean, part number and quantity --
  3           Q      Pricing, all of that?            Pricing as well,
  4    right?
  5           A      There should be price on the P.O., of
  6    course.
  7           Q      Yeah.    So you have quantity, price, part
  8    number, all of that?
  9           A      Yes.
 10           Q      Do you know who controls, who's in charge of
 11    setting the price numbers on the P.O.s for a Hong Kong
 12    P.O.?
 13           A      So for all the factories, we do have a
 14    matrix in place where our team calculates the pricing
 15    based upon the matrix and based on the P.O. is based
 16    upon the pricing from the matrix.
 17           Q      From the matrix?        Who approves the pricing
 18    matrix?
 19           A      I think the price, firstly, the matrix is
 20    agreed upon between the two companies, and the
 21    calculations are pretty much simple.                And as soon as
 22    the, I mean, the pricing is done, it's being sent to
 23    the -- to the factory.
 24           Q      Does Rishi negotiate the pricing?
 25           A      So there are occasions where we might


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  1    negotiate special pricing on a couple of different
  2    part numbers where there's a target price given by the
  3    customer, and definitely we cannot meet that target
  4    price with the pricing matrix.              So there are occasions
  5    where we go back and negotiate on those prices.
  6           Q      Does Rishi have to approve the pricing?
  7           A      I do not know that.
  8           Q      How do you not know that?
  9           A      I don't know if Rishi approves the pricing.
 10           Q      What's that?       You don't know if he approves
 11    the pricing?
 12           A      Sorry.    Pricing from what?          Like, pricing is
 13    already negotiated with the supplier, right?
 14           Q      It's already negotiated with the supplier.
 15    But then when you have to do a special negotiated
 16    price, does Rishi approve that?
 17           A      Basically, when I, in the last two years,
 18    even I speak with Benlida and I get special pricing.
 19    And after I get that special pricing, I give it to
 20    inside sales and they create a P.O. and send it to the
 21    factory.
 22           Q      Okay.    So you don't have to get Rishi to
 23    approve special pricing?
 24           A      It depends on case to case.            Like, it's not
 25    that Rishi might approve the pricing in the system.


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  1    But there are occasions where Rishi does get involved
  2    or not get involved, but there are, like, different
  3    customers, different P.O.s and different part numbers
  4    where pricing -- needed.           So Rishi is, I mean, it's
  5    not necessary when --
  6                        MR. MAZZOLA:       Akshay?      Akshay?     Hope,
  7    you didn't get that, did you?
  8                        THE REPORTER:        No.    Uh-uh.
  9                        THE WITNESS:       Hello?     Sorry.     No.
 10                        MR. MAZZOLA:       Yeah.     We lost a lot of
 11    that.     I don't know what the last word we had was.                  I
 12    think you froze up.
 13                        MR. COLE:      It sort of cut out in the
 14    middle of your answer, Akshay.
 15                        THE WITNESS:       Well, should I start all
 16    over again?
 17                        MR. MAZZOLA:       Hope, did you take a look
 18    at that?
 19                        THE REPORTER:        Yeah.    Depends on a case
 20    to case basis.        Rishi does not -- approves pricing in
 21    the system.
 22                        THE WITNESS:       Rishi approves the
 23    pricing in the system.
 24                        MR. MAZZOLA:       Okay.     And then you said
 25    more?


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  1                        THE WITNESS:       I said but -- can you
  2    hear me?
  3                        MR. MAZZOLA:       Yeah.     I thought you
  4    froze again.       Okay.     Yes, we can hear you.
  5                        THE WITNESS:       But if I'm negotiating,
  6    Rishi might or might not be involved in negotiations
  7    with the supplier.         It is on a case to case basis.              I
  8    mean, it depends.
  9    BY
            MR. MAZZOLA:
 10           Q      So if it's a bespoke pricing arrangement, it
 11    depends whether or not Rishi will be involved with it;
 12    sometimes, sometimes not.            Right?
 13           A      That's right.       With the supplier.
 14           Q      I heard someplace from one of the other
 15    people that work for Circuitronix that Rishi had to
 16    approve all purchase orders.             Do you know anything
 17    about that?
 18           A      I think they might be referring to Sage and
 19    I'm not involved in Sage, as I told you earlier.
 20           Q      Okay.    Sage is the ERP system you use,
 21    right?
 22           A      That's right.
 23           Q      And before Sage, you use NetSuite system,
 24    right?
 25           A      That's right.


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  1           Q      Why did you guys move from NetSuite to Sage?
  2           A      That's something which I think -- to
  3    management for an answer.
  4           Q      You don't know; is that right?
  5           A      That's right.
  6           Q      Does Rishi get involved with approving the
  7    quantity that's to be produced by your factory?                    So,
  8    Benlida, for example?
  9           A      If you're talking about the bills which are
 10    being generated to the factory by the team in Sage?
 11           Q      Yeah.
 12           A      I'm not 100 percent sure.
 13           Q      The team in -- okay.          So Sage is what's used
 14    to generate the purchase order?
 15           A      Mm-hmm.
 16           Q      And as I understand, the way Sage operates
 17    is to produce a purchase order, you have to produce a
 18    part number first.         Do you know that to be the case?
 19           A      I do know that with Sage, you have a
 20    complete information about part number, price, price
 21    with the supplier, and yeah.             I mean, you have
 22    complete information.          Like, you will have complete
 23    information about the customer out there.                 The
 24    customer code, which I have known so far, so it's a
 25    complete process.


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  1           Q      What is -- well, scratch that.             Let's get
  2    some documents up here.           We're going to put a document
  3    in front of you.        This is a document that we
  4    previously marked as Exhibit 21.
  5                        (Exhibit 21 was previously marked for
  6                        identification.)
  7                        THE WITNESS:       Can you hear me?
  8                        MR. MAZZOLA:       Yes, we can hear you.
  9                        MR. COLE:      Are you able to see the
 10    document, Akshay?
 11                        THE WITNESS:       Yes, I am.
 12                        MR. MAZZOLA:       Can you make it a little
 13    smaller, just so Akshay can see the whole thing?
 14    Okay.      We're not asking you to read it.             Just scan
 15    through it.       Go back to the signature line there.
 16    That's -- signature, right?            Who signed that?
 17                        MR. KELLY:       (Inaudible.)
 18    BY
            MR. MAZZOLA:
 19           Q      Have you ever seen this?           This is the
 20    contract between Benlida, ROK and Circuitronix.                    Have
 21    you ever seen this before?
 22           A      Can you take it to the --
 23           Q      Yeah.    We'll make it bigger.          Just make this
 24    page bigger.
 25                        MR. COLE:      No, he's asking --


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  1                        THE WITNESS:       No -- no.      To the first
  2    page --
  3                        MR. COLE:      -- like, the beginning of
  4    it.    That part.
  5                        MR. MAZZOLA:       No one disputes this is
  6    the contract.       I just want to ask you one or two
  7    questions about it, and we may go back to it a bit
  8    later.
  9                        THE WITNESS:       Hello?
 10                        MR. COLE:      Yeah, Akshay, I think that
 11    he just wants to know if you've seen this before?
 12                        MR. MAZZOLA:       That's all.       It's okay if
 13    the answer is no, you've never seen it.
 14                        THE WITNESS:       -- the first page, so
 15    that I know, I mean, I cannot just -- I don't think
 16    I've seen this document.
 17                        MR. MAZZOLA:       You can just leave it up
 18    there.
 19                        MR. COLE:      Are you able to see the
 20    first page right now?
 21                        THE WITNESS:       No, sir.
 22                        MR. MAZZOLA:       Oh, it's not up there?
 23    Oh.
 24                        MR. COLE:      Maybe just reload it?           Yeah,
 25    just leave it up like that.            Can you see that, Akshay?


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  1                        THE WITNESS:       No, sir.      Is that
  2    Benlida?      No -- no, sir.       I have not seen this
  3    document.
  4                        MR. MAZZOLA:       But you do see it, right?
  5    It's got something blue --
  6                        THE WITNESS:       I can see it right now.
  7                        MR. MAZZOLA:       Okay.     It's got blue
  8    lettering across the top, right?
  9                        THE WITNESS:       Uh-huh.
 10                        MR. MAZZOLA:       Okay.
 11    BY
            MR. MAZZOLA:
 12           Q      So the question was, have you ever seen this
 13    document.      I'm representing to you, this is the
 14    contract between Benlida ROK and Circuitronix.                   Okay?
 15    And I want to know, have you ever seen it?
 16           A      I've not seen this document before, like,
 17    just now, I've seen it.           Not before.
 18           Q      Okay.    Although you've never seen it, have
 19    you ever been advised or made familiar with any of the
 20    terms and conditions of this contract?
 21           A      I have not seen this contract, but I do come
 22    to know from Rishi on an ongoing basis, like, pricing
 23    or say matrix or anything like that, but not the
 24    complete details of the agreement, what you're
 25    showing.


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  1           Q      How do you learn from Rishi things about
  2    pricing?      Does he said you e-mail?           Does he talk to
  3    you on the phone?
  4           A      Pricing, forward, like the matrix?
  5           Q      Mm-hmm.
  6           A      For the matrix, right?
  7           Q      Yeah.
  8                        MR. MAZZOLA:       Do we have a matrix?
  9    Scroll down.       We're going to scroll down to something.
 10    Stop at the signature page.
 11    BY
            MR. MAZZOLA:
 12           Q      Before we get to that, who is Amish Duta
 13    [ph]?
 14           A      I know that Amish sits in US office.
 15           Q      Does he still work there?
 16           A      I cannot say as of today.           I mean, I'm not
 17    sure, but I think I saw an e-mail coming in from him,
 18    I think two weeks ago or something.
 19           Q      When was the last time you visited the US
 20    office?
 21           A      I've never been to the US office.
 22           Q      What's that?
 23           A      I've never been to US office.
 24           Q      Okay.
 25                        MR. MAZZOLA:       Scroll down in the


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  1    matrix.     So this is the beginning, the first part of
  2    the pricing matrix.
  3                         THE WITNESS:      Mm-hmm.
  4    BY
            MR. MAZZOLA:
  5           Q      So I assume you understand how these
  6    operate, right?
  7           A      Just that pricing matrix is specifically
  8    negotiated and discussed by Rishi with suppliers.
  9           Q      And the pricing matrix might change,
 10    depending on who the supplier is; is that correct?
 11           A      I cannot take Benlida's reference, but I'm
 12    sure that for, like, I've seen agreement with another
 13    supplier, and I'm sure it cannot be changed without
 14    prior agreement.
 15           Q      Right.    You said, it cannot be changed
 16    unless Rishi agrees; is that your understanding?
 17           A      Yes.    As per the agreement , I'm sure
 18    there's something written in the agreement, and one
 19    cannot agree it outside of the agreement.                 I'm not
 20    referring to this agreement because I've never seen
 21    this agreement before.
 22           Q      Okay.
 23           A      I'm referring to the agreements which I've
 24    seen with --
 25           Q      When you prepare a, I guess you don't know


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  1    this, but I guess my question is, do you know that
  2    when a P.O. is prepared, if the pricing matrix data,
  3    all these numbers we're looking at, if that is already
  4    loaded into the Sage system?
  5           A      I do not have -- to that portion.
  6           Q      Okay.    Scroll down a little bit.            And then,
  7    of course, this finishes.            You know what a finish is,
  8    right?
  9           A      Yes, sir.
 10           Q      There's one in gold.          What's "I-M" gold?
 11           A      Immersion gold.
 12           Q      Immersion gold?        And what's that, 3U?
 13           A      That's the thickness of the finish that has
 14    to be on the PCB.
 15           Q      Let's scroll down a little bit.             And then,
 16    of course, you know, all of these.               These are the
 17    pricing matrix, right?
 18           A      These are part of the pricing matrix.                Yup.
 19           Q      And I'm trying to understand, if the pricing
 20    would change on something, would you be involved with
 21    that, or is that something Rishi would only be
 22    involved with?
 23           A      So any pricing discussions with Benlida
 24    after 2019 and '20, I used to, like, Benlida, I used
 25    to send that pricing issue to me, and I used to walk


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  1    that through Rishi and Rishi would take the call.
  2           Q      Okay.    Rishi would take the call?
  3           A      Yes.
  4           Q      Would he involve you in the decision?
  5           A      For the pricing decision?           I might know the
  6    details and we might have discussion, but it's -- it's
  7    not that he will necessarily bring me in or he would
  8    not bring me in that discussion.               But we do discuss.
  9                         MR. COLE:     Just to clarify, I think
 10    language, like, I think when he says "take the call,"
 11    it's means, like, make the decision as opposed to,
 12    like, taking a phone call.
 13                         MR. MAZZOLA:      Who?     -- or Akshay?
 14                         MR. COLE:     Akshay.
 15                         MR. MAZZOLA:      Is that what you mean,
 16    Akshay, when you say he would make the call, did he
 17    say make the call or take the call?
 18                         MR. COLE:     I think he said take the
 19    call.
 20                         THE WITNESS:      Yeah.     Sorry.     If I did
 21    it otherwise.        He would take the call.
 22                         MR. MAZZOLA:      He would decide, right?
 23                         THE WITNESS:      He would decide.
 24                         MR. MAZZOLA:      Scroll down.       This is
 25    stuff I did.       This is these are all -- these are all


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  1    pricing matrices.
  2    BY
            MR. MAZZOLA:
  3           Q      Do you know anything about discount
  4    structure and how that operated?
  5           A      I do not deal with discount structure, but I
  6    know that it's part of the, like, the pricing matrix.
  7    That's something which I do not do.
  8           Q      While we're on it, we're going to spend --
  9    we got a lot to talk about, about lead times.                   We're
 10    not there yet, but on lead times, are you familiar
 11    with the way the lead time schedule operated?
 12           A      I'm familiar.
 13           Q      You are familiar with it?
 14           A      Mm-hmm.
 15           Q      Can we just talk about this a little bit?                  I
 16    guess you have to; you don't have a choice, Akshay.                      I
 17    want to talk about this lead time schedule.                  Have you
 18    ever seen this lead time schedule, this schedule C?
 19           A      If you're talking specifically to this
 20    agreement, I have not seen it.              But I know there is a
 21    lead time associated with -- with every supplier.
 22           Q      And we're talking about Benlida here, now.
 23    I assume it's the same --
 24           A      I have not seen -- as I said, I have not
 25    seen this document before, but it says single sided


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  1    ten days, double sided 14 days.                It is already written
  2    out there.
  3           Q      So as you sit here right now, do you know
  4    what the lead times are for Benlida production?
  5           A      They keep on changing.
  6           Q      Okay.
  7           A      In all these years, I've seen them changing
  8    their lead times as per their components.                 But, yeah.
  9           Q      Does Rishi have to agree that this -- the
 10    changing of a lead time?
 11           A      Firstly, I think changing of lead time is
 12    not allowed.       But Rishi has been -- I know that on
 13    many occasions, Rishi has been flexible enough with
 14    Benlida because he considers Benlida to be a strategic
 15    partner.      And, I mean, it's -- yeah --
 16           Q      Does Rishi still consider Benlida to be a
 17    strategic partner?
 18           A      I think he can answer that question pretty
 19    well.      But over the years, I can believe and say that
 20    we have always considered Benlida to be a strategic
 21    partner.
 22           Q      You made a comment about, for their
 23    convenience, that the lead times would be changed.
 24           A      Okay.
 25           Q      And I don't know if you're -- you haven't


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  1    seen this document, but I'm asking you to look at the
  2    line number 1 at the top under lead time schedule.
  3    We're highlighting it so you can see it.
  4                        MR. MAZZOLA:       That doesn't stay like
  5    that, does it?
  6                        MR. KELLY:       No.
  7                        MR. MAZZOLA:       Okay.
  8                        MR. KELLY:       (Inaudible.)
  9                        MR. MAZZOLA:       And, of course, you can
 10    read anything you want, but I'm trying to make it a
 11    little easier for us.
 12                        THE WITNESS:       Okay.     I -- I read that.
 13                        MR. MAZZOLA:       Okay.
 14    BY
            MR. MAZZOLA:
 15           Q      Do you know what that means or how that was,
 16    you know, what that meant in practice?
 17                        MR. COLE:      Object, just to the extent
 18    it calls for a legal conclusion.               But, Akshay, you can
 19    answer whatever your understanding is.
 20           A      Sure.    As it says, this document that you
 21    are trying to show me, it says that Benlida should
 22    update the standard details on the 15th or nearest
 23    business day of every month.
 24           Q      Okay.    Did you have any recollection of
 25    Benlida ever reaching out to -- I guess the question


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  1    would be, would Benlida ever reach out to you to say,
  2    look, we need to change the lead time?                Did they ever
  3    have those discussions with you?
  4           A      I guess, yes.       And with Rishi as well.
  5           Q      Okay.    And who is authorized to make the
  6    decision on updates regarding lead times?                 Is that you
  7    or would it be Rishi?
  8           A      It should be Rishi, because he was the one
  9    who was dealing with all this, you know?
 10           Q      I'm going to put a document in front of you,
 11    Exhibit 35.
 12                        (Exhibit 35 was previously marked for
 13                        identification.)
 14                        MR. MAZZOLA:       Can you leave two
 15    documents up and slide them back and forth?
 16                        MR. KELLY:       Like -- yeah, I can.          Like,
 17    which one?
 18                        MR. MAZZOLA:       Yeah.     So when you can
 19    toggle back and forth so it's easier.
 20                        MR. KELLY:       Yeah - yeah.
 21                        MR. MAZZOLA:       Okay.     So leave the
 22    contract up and then put this thing up in front of me.
 23    Oh, you can do it right there.              Okay.    No, but make --
 24    so will you just make that bigger.               This is an e-mail
 25    that we put in front of you, and we're putting it in


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